
WRIGHT, J.,
delivered the opinion of the Court.
In this cause, we affirm the decree of the Chancellor.
Previous to the passage of the act of 1847, ch. 191, it seems to have been doubted, ' whether complainant could have any relief in equity. At law he could not; Bumpass vs. Gregory, 8 Yerg., and authorities there cited. In many of the States, equity granted relief, and vacated the satisfaction, upon the ground of mistake and ignorance.
In 1847, the Legislature of this State gave the creditor a remedy by scire facias. This act has been construed to extend to a case like this; and that the creditor could have his scire facias at law. Edde vs. Cowan, 1 Sneed, 291.
If jurisdiction existed in equity, before this act, as we incline to think it did, then the act did not take it away. At all events, we can see no reason now, since the act, to drive the creditor to a Court of Law.
In the case of Crawford vs. Roberts, (MSS.,) decided by this Court, in 1853, the creditor- had relief, and the satisfaction of the judgment was vacated in equity, in a case involving, as to this point, the same principles as this.
The Chancellor’s decree will .be affirmed.
